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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address


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      Individual appearing without attorney
      Special Litigation Counsel for Plaintiff
      Elissa D. Miller, Chapter 7 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:20-bk-21022-BR

 In re GIRARDI KEESE,                                                        CHAPTER: 7
                                                                             ADVERSARY NO.: 2:21-ap-01155-BR
                                                              Debtor(s).



 ELISSA D. MILLER, Chapter 7 Trustee for the
 Estate of Girardi Keese,
                                                                             NOTICE OF LODGMENT OF SCHEDULING
                                                             Plaintiff(s),
                                                                             ORDER FOLLOWING STATUS
                                   vs.                                       CONFERENCE OCTOBER 29, 2024
 ERIKA J. GIRARDI, an individual; EJ GLOBAL,
 LLC, a limited liability company; and PRETTY
 MESS, INC., a corporation,
                                                            Defendant.




PLEASE TAKE NOTE that the order or judgment titled SCHEDULING ORDER FOLLOWING STATUS
CONFERENCE OCTOBER 29, 2024 was lodged on (date) November 6, 2024 and is attached. This order relates to
the motion which is docket number 1.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                 EXHIBIT A
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  1
                                                 ORDER
  2
             The Court, having reviewed the status conference report [ECF Doc. 136] and being fully
  3
      advised in the premises,
  4
             IT IS HEREBY ORDERED:
  5
                     1. Discovery Cut Off:    January 7, 2025.
  6
                     2. Pre-Trial Conference: January 28, 2025, 10 a.m.
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
8001 Lurline Avenue, Winnetka, CA 91306.


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF SCHEDULING
ORDER FOLLOWING STATUS CONFERENCE OCTOBER 29, 2024 will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 6, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) November 6, 2024, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Hon. Barry Russell
U.S. Bankruptcy Court
255 East Temple, Ctrm. 1668
Los Angeles, CA 90012


                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 6, 2024                 KRISTINA DOW                                               Kristina Dow
 Date                              Printed Name                                              Signature




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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

    •   Ori S Blumenfeld oblumenfeld@lakklawyers.com,
        ncondren@lakklawyers.com;smcfadden@lakklawyers.com
    •   Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
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    •   Frank X Ruggier frank@ruggierlaw.com
    •   Amir Shakoorian amir.shakoorian@hklaw.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Timothy J Yoo tjy@lnbyb.com




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